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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

Brandon Viverette,                           Case No.: 1:20-cv-03506-CAP-CCB

               Plaintiff,

      vs.                                    FIRST AMENDED COMPLAINT

Equifax Information Services, LLC, and
U.S. Department of Education,                JURY TRIAL DEMAND

               Defendants.




      NOW       COMES THE         PLAINTIFF, BRANDON              VIVERETTE, BY

AND THROUGH COUNSEL, Daniel M. Brennan and for his First Amended

Complaint against the Defendants, pleads as follows:

                                JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit

   Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).


                                     VENUE

   3. The transactions and occurrences which give rise to this action occurred in

   the City of College Park, Fulton County, Georgia.
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4. Venue is proper in the Northern District of Georgia, Atlanta Division.



                                  PARTIES

5. Plaintiff is a natural person residing in the City of College Park, Fulton

county, Georgia.

6. The Defendants to this lawsuit are:

      a. Equifax Information Services, LLC (“Equifax”) which is a Georgia

         limited liability company that conducts business in the State of

         Georgia; and

      b. U.S. Department of Education (“U.S. Dept. of Ed”) is a department of

         the U.S. government that conducts business in the State of Georgia.


                        GENERAL ALLEGATIONS

7. U.S. Dept. of Ed is inaccurately reporting its Tradelines (“Errant

   Tradelines”) on Plaintiff’s Equifax credit disclosure with an erroneous

   scheduled monthly payment amount on the following:


      a. U.S. Dept. of Ed with a balance of $8,873.00 and a monthly payment

         of $5.00 which is closed;

      b. U.S. Dept. of Ed with a balance of $3,372.00 and a monthly payment

         of $5.00 which is closed; and
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      c. U.S. Dept. of Ed with a balance of $1,916.00 and a monthly payment

          of $5.00 which is closed.


8. The account reflected by the Errant Tradelines were closed by U.S. Dept. of

   Ed. Plaintiff no longer has an obligation to make monthly payments to U.S.

   Dept. of Ed. Defendant closed the accounts. Hence, the entire balance is due

   presently as Plaintiff has neither the right nor the obligation to satisfy these

   debts in monthly installments.

9. The Errant Tradelines should be reported by U.S. Dept. of Ed with a monthly

   payment of $0.00. Per credit reporting industry standard and the Credit

   Reporting Resource Guide, which is the credit reporting manual created by

   the three major credit bureaus, no furnisher may report a monthly payment on

   a closed account.

10.On April 3, 2020, Plaintiff obtained his Equifax credit disclosure and noticed

   the Errant Tradelines inaccurately reporting with an erroneous monthly

   payment amount.

11.On or about May 19, 2020, Plaintiff submitted a letter to Equifax, disputing

   the Errant Tradelines.

12.In his dispute letter, Plaintiff explained that the account reflected by the Errant

   Tradelines were closed. Plaintiff no longer has an obligation to make monthly
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   payments to U.S. Dept. of Ed. Accordingly, Plaintiff asked Equifax to report

   the Errant Tradelines with the monthly payment amount of $0.00.

13.Equifax forwarded Plaintiff’s consumer dispute to U.S. Dept. of Ed.

14.U.S. Dept. of Ed received Plaintiff’s consumer dispute from Equifax.

15.U.S. Dept. of Ed and Equifax did not consult the Credit Reporting Resource

   Guide as part of its investigation of Plaintiff’s dispute.

16.Plaintiff had not received Equifax’s investigation results. Therefore, on July

   2, 2020, Plaintiff obtained his Equifax credit disclosure, which showed that

   Equifax and U.S. Dept. of Ed failed or refused to report the scheduled

   monthly payment as $0.00 on the Errant Tradelines.

17.As a direct and proximate cause of the Defendants’ negligent and/or willful

   failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

   seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also

   experienced undue stress and anxiety due to Defendants’ failure to correct

   the errors in his credit file or improve his financial situation by obtaining

   new or more favorable credit terms as a result of the Defendants’ violations

   of the FCRA.



                                   COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                 BY U.S. DEPT. OF ED
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18.Plaintiff realleges the above paragraphs as if recited verbatim.

19.After being informed by Equifax of Plaintiff’s consumer dispute of the

   erroneous monthly payment, U.S. Dept. of Ed negligently failed to conduct a

   proper investigation of Plaintiff’s dispute as required by 15 U.S.C. § 1681s-

   2(b).

20.U.S. Dept. of Ed negligently failed to review all relevant information available

   to it and provided by Equifax in conducting its reinvestigation as required by

   15 U.S.C. § 1681s-2(b). Specifically, it failed to direct Equifax to report the

   Errant Tradelines with an account status as closed.

21.The Errant Tradelines are inaccurate and creating a misleading impression on

   Plaintiff’s consumer credit file with Equifax to which it is reporting such

   tradelines.

22.As a direct and proximate cause of U.S. Dept. of Ed’s negligent failure to

   perform its duties under the FCRA, Plaintiff has suffered damages, mental

   anguish, suffering, humiliation and embarrassment.

23.U.S. Dept. of Ed is liable to Plaintiff by reason of its violations of the FCRA

   in an amount to be determined by the trier fact together with reasonable

   attorneys’ fees pursuant to 15 U.S.C. § 1681o.

24.Plaintiff has a private right of action to assert claims against U.S. Dept. of Ed

   arising under 15 U.S.C. § 1681s-2(b).
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        WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against the Defendant U.S. Dept. of Ed for damages, costs, interest and attorneys’

fees.

                                       COUNT II

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY U.S. DEPT. OF ED

   25.Plaintiff realleges Paragraphs 1 through 17 as if recited verbatim.

   26.After being informed by Equifax that Plaintiff disputed the accuracy of the

        information it was providing, U.S. Dept. of Ed willfully failed to conduct a

        proper reinvestigation of Plaintiff’s dispute.

   27.U.S. Dept. of Ed willfully failed to review all relevant information available

        to it and provided by Equifax as required by 15 U.S.C. § 1681s-2(b).

   28.As a direct and proximate cause of U.S. Dept. of Ed’s willful failure to

        perform its duties under the FCRA, Plaintiff has suffered damages, mental

        anguish, suffering, humiliation and embarrassment.

   29.U.S. Dept. of Ed is liable to Plaintiff for either statutory damages or actual

        damages he has sustained by reason of its violations of the FCRA in an amount

        to be determined by the trier fact, together with an award of punitive damages

        in the amount to be determined by the trier of fact, as well as for reasonable

        attorneys’ fees and he may recover therefore pursuant to 15 U.S.C. § 1681n.
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      WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

against the Defendant U.S. Dept. of Ed for the greater of statutory or actual damages,

plus punitive damages, along with costs, interest and attorneys’ fees.

                                    COUNT III

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EQUIFAX

   30.Plaintiff realleges Paragraphs 6-16 as if recited verbatim.

   31.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   32.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   33.Equifax negligently failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   34. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      negligently failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.
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   35.As a direct and proximate cause of Equifax’s negligent failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   36.Equifax is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681o.


      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Equifax for actual damages, costs, interest, and attorneys’ fees.

                                    COUNT VI

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       BY EQUIFAX

   37.Plaintiff realleges Paragraphs 6-16 as if recited verbatim.

   38.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   39.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   40.Equifax willfully failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information that it reported to one

      or more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
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   41. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      willfully failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.

   42.As a direct and proximate cause of Equifax’s willful failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   43.Equifax is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with his reasonable

      attorneys’ fees pursuant to 15 USC 1681n.

      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

against Defendant Equifax for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.

                                JURY DEMAND

      Plaintiff hereby demands a trial by Jury.

DATED: December 15, 2020

                                          By: /s/ Daniel M. Brennan
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